        Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 1 of 65




        New Hampshire Community Mental Health Agreement
                         Expert Reviewer Report Number Four
                                          June 29, 2016



   I.       Introduction
This is the fourth semi-annual report of the Expert Reviewer (ER) under the Settlement
Agreement in the case of Amanda D. v. Hassan,; United States v. New Hampshire, No. 1:12-cv-
53-SM. For the purpose of this and future reports, the Settlement Agreement will be referred to
as the Community Mental Health Agreement (CMHA). Section VIII.K of the CMHA specifies
that:

        Twice a year, or more often if deemed appropriate by the Expert Reviewer, the
        Expert Reviewer will submit to the Parties a public report of the State’s
        implementation efforts and compliance with the provisions of this Settlement
        Agreement, including, as appropriate, recommendations with regard to steps to be
        taken to facilitate or sustain compliance with the Settlement Agreement.

In this fourth six-month period (January 1, 2016 through June 30, 2016), the ER has continued to
observe the State work to implement certain key service elements of the CMHA, and to have
discussions with relevant parties related to implementation efforts and the documentation of
progress and performance consistent with the standards and requirements of the CMHA. In this
period the ER:

           Conducted on-site reviews of Assertive Community Treatment (ACT) teams/services
            and Supported Employment (SE) services at the Mental Health Center of Greater
            Manchester; Riverbend CMHC, and Northern Human Services CMHC, Littleton
            Office; a non-random sample of ACT and SE records was reviewed at each of these
            sites;
           Conducted an on-site visit at the Cypress Center in Manchester;
           Conducted a site visit at the Peer Support Agency in Littleton;
           Met with the Central Team to review progress and discuss barriers to transition from
            both New Hampshire Hospital (NHH) and Glencliff;
           Met with Riverbend CMHC to assess implementation of the new mobile crisis team
            and crisis apartments in the Concord region;
           Met with certain CMHC Directors to discuss and receive input on the ER’s Third
            Report;


                                                                                                  1
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 2 of 65




          Participated in two meetings with New Hampshire Department of Health and Human
           Services (DHHS) Commissioner Jeffrey Meyers;
          Conducted a site visit with Harbor Homes to discuss the Bridge Subsidy Rental
           Assistance Program and related housing issues;
          Conducted an introductory meeting with DHHS staff involved with the PASRR
           program;
          Participated in several meetings with representatives of the Plaintiffs and the United
           States (hereinafter “plaintiffs”);
          Conducted several meetings with DHHS officials to discuss Quality Service Reviews
           (QSR), data tracking, and data elements and reporting related to the CMHA;
          Conducted a two day on-site working session with DHHS Quality
           Management/Quality Service Reviews (QM/QSR) staff to discuss design and
           implementation of the QSR process;
          Convened two meetings of a sub-set of representatives of the plaintiffs and DHHS
           QM/QSR staff to facilitate plaintiffs input to the QSR process; and
          Convened a meeting of all parties to discuss general progress and implementation
           issues related to the CMHA.

Information obtained during these on-site meetings has, to the extent applicable, been
incorporated into the discussion of implementation issues and service performance below. The
ER will continue to conduct site visits going forward to observe and assess the quality and
effectiveness of implementation efforts and whether they achieve positive outcomes for people
consistent with CMHA requirements.

   II. Data
The New Hampshire DHHS continues to make progress in developing and delivering data
reports addressing performance in some domains of the CMHA. Appendix A contains the two
most recent DHHS Quarterly Data Reports, which incorporate standardized report formats with
clear labeling and date ranges for several important areas of CMHA performance. It is now
possible to conduct and report longitudinal analyses of trends in certain key indicators of CMHA
performance. The State has also incorporated data on utilization of Designated Receiving
Facilities (DRFs) in the Quarterly Report. Specific data from the quarterly reports are included
in the discussion of individual CMHA services below.

In addition to the standardized reporting of certain types of data, DHHS continues to collect and
report on other data necessary to monitor performance related to the CMHA. These include
reports from the new mobile crisis services in the Concord Region; data on discharge
destinations from NHH and Glencliff; reports of wait list numbers for ED boarding; and
utilization of the Bridge Subsidy Program. DHHS shares data on these special program areas
with the ER and representatives of the plaintiffs, but the data are not yet incorporated in the

                                                                                                    2
        Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 3 of 65




quarterly report. Where applicable, these additional data are incorporated in the discussion of
specific CMHA performance domains below.

As noted in previous ER reports, there continue to be important categories of data that are
needed but not routinely collected and reported, and which will need to be developed in order to
accurately evaluate ongoing implementation of the CMHA. For example, ACT team data is
reported by region, not by ACT team. Thus, data for the two ACT teams in Manchester are
merged together, potentially masking information relevant to the teams separately. A new ACT
team is being developed in Nashua, and there is potential for another new team to be funded in
the future. Thus, it will be important to have the data reporting reflect each individual team
rather than aggregate regional data.

In addition, there continues to be no reported or analyzed data on the degree to which
participants in SE are engaged in competitive employment in integrated community settings
consistent with their individual treatment plans. This data is important in assessing the fidelity
with which supported employment services are provided.

Another gap in data is related to people receiving Supported Housing (SH) under the Bridge
Subsidy Program. These participants are not yet clearly identified in the Phoenix II system, and
thus, it is difficult to document the degree to which these individuals are: (a) connected to local
CMHA services and supports; or (b) actually receiving services and supports to meet their
individualized needs on a regular basis in the community. As noted in the January 2016 ER
Report, DHHS has identified a strategy to link data from the Bridge Subsidy Program to the
Phoenix II system. However, no responsive data has been produced to date, leaving a significant
gap in the ER’s ability to evaluate compliance with supported housing provisions of the CMHA.

Although the soon-to-be-initiated QM/QSR process will provide additional information related
to the quality, effectiveness, and (where applicable) the fidelity of the services delivered, the data
identified above is an essential complement to those client reviews and necessary in order for the
ER, and the parties, to effectively measure ongoing implementation and to demonstrate
compliance with the terms of the CMHA. A proposed deadline for reporting on the production
of these data is among the action items identified at the conclusion of this Report.

   III. CMHA Services
The following sections of the report address specific service areas and related activities and
standards contained in the CMHA.

       Mobile Crisis Services and Crisis Apartments
The CMHA calls for the establishment of mobile crisis capacity and crisis apartments in the
Concord Region by June 30, 2015 (Section V.C.3(a)). DHHS conducted a procurement process


                                                                                                     3
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 4 of 65




for this program, and the contract was awarded on June 24, 2015. Riverbend CMHC was the
vendor selected to implement the mobile team and crisis apartments in the Concord Region.

Table I below includes Riverbend’s most recent available information on activities of its new
crisis program.




                                                                                                4
        Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 5 of 65




                                                Table I

   Concord Region Self-Reported Mobile Crisis Services: October, 2015 and April, 2016

                                                     October 2015         April 2016
Total unduplicated people served                              135                 187
Services provided in response to immediate crisis:
     Phone support/triage
     Mobile assessments                                     179                 253
     Crisis stabilization appointments                       14                  39
     Emergency services medication                           45                  20
        appointments                                          18                  29
Services provided after the immediate crisis:
     Phone support/triage                                   52                   83
     Mobile assessments                                     5                     6
     Crisis stabilization appointments                      29                   20
     Emergency services medication                          18                   24
        appointments
Referral source:
     Self                                                   66                  226
     Family                                                 24                   58
     Guardian                                               2                     2
     Mental health provider                                 15                   10
     Personal care physician                                4                     3
     Hospital emergency department                          8                     9
     Police                                                 0                     8
    
Crisis apartment admissions:                                  5                   10
     Bed days                                                8                   21
     Average length of stay                                 1.6                  2.1
Law enforcement involvement                                  4                    13
Total hospital diversions                                    39                  93*
*Hospital diversions are instances in which services are provided to individuals in crisis resulting
in diversion from being assessed at the Emergency Department and/or being admitted to a
psychiatric hospital.

These data indicate a growth in the number of people accessing mobile crisis services, and in the
number of crisis response services delivered. However, the number of mobile crisis assessments
remains relatively low, given the volume of total crisis encounters. Over the next six months, the
ER expects to closely monitor the evolution of this service, in order to ensure that crisis services
are being delivered in the community whenever possible and that decisions not to dispatch the

                                                                                                  5
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 6 of 65




mobile crisis team are reported and the rationale analyzed to ensure adherence to the service
model and goals.

Charts I, II, III and IV below show trends in mobile crisis services in the Riverbend region from
September, 2015 through April, 2016, based on Riverbend’s self reports.




                                                                                                    6
Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 7 of 65




                                         Chart I


                    Riverbend MCT: Unduplicated
                            Individuals
   250
                                                          210
                                                    195         187
   200                                     179
                                   172
                            150
   150               135

                                                                       Series1
   100         79

    50

        0
            SEPT 15 OCT 15 NOV 15 DEC 15 JAN 16 FEB 16 MAR 16 APR 16




                                         Chart II


                Riverbend MCT: Community Based
                          Assessments
   60

   50

   40

   30
                                                                       Series1
   20

   10

    0
            SEPT 15 OCT 15 NOV 15 DEC 15 JAN 16 FEB 16 MAR 16 APR 16




                                                                                 7
        Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 8 of 65




                                             Chart III


                       Riverbend MCT: MCU Admissions

            12

            10

              8

              6
                                                                                Series1
              4

              2

              0
                  SEPT 15 OCT 15 NOV 15 DEC 15 JAN 16 FEB 16 MAR 16 APR 16


                                             Chart IV


                      Riverbend MCT: Hospital Diversions
            100
             90
             80
             70
             60
             50
                                                                                Series1
             40
             30
             20
             10
              0
                  SEPT 15 OCT 15 NOV 15 DEC 15 JAN 16 FEB 16 MAR 16 APR 16


Given the data in Table I, it is evident that the vast majority of Riverbend’s crisis interventions
are via telephone conversations. It appears that a relatively small percentage of crisis
interventions are truly mobile – on-site in the community with the individual in crisis. In the
future, the ER will work with the State and Riverbend to gain greater clarity on the effectiveness
of both phone and on-site mobile interventions so as to better determine whether the crisis
services offered are meeting individuals’ needs. In doing so, the ER will look to the outcome
criteria at CMHA Section V.C.1(b) - (d).



                                                                                                  8
        Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 9 of 65




In Table I, Riverbend reported that in April 2016, there were 13 instances of involvement with
law enforcement during a crisis. In the future, the ER will work with the State and Riverbend to
gather additional information about such instances with an emphasis on whether or not the crises
are resolved in the community without subsequent arrest or contact with a hospital or other
institutional setting.

Going forward, the ER will also track staffing and other requirements in the Crisis System
Components section of the CMHA, Section V.C.2.

In mid-June 2016, DHHS awarded a contract to the Mental Health Center of Greater Manchester
to establish the second Mobile Crisis Team and Crisis Apartments. Given the timing of the
contract award, mobile crisis services will not be operational in the Manchester Region by June
30, 2016, as specified in the CMHA. However, the implementation and early operations
experience of the existing Riverbend mobile crisis program should inform implementation and
could potentially assist to reduce the elapsed time between contract award and full
implementation of the Mobile Crisis Team and Crisis Apartment services in Manchester. The
ER will closely monitor implementation of these services over the next several months.

       Assertive Community Treatment (ACT)
ACT is a key element of the CMHA, which specifies, in part:

   1. By October 1, 2014, the State will ensure that all of its 11 existing adult ACT teams
      operate in accordance with the standards set forth in Section V.D.2;
   2. By June 30, 2014, the State will ensure that each mental health region has at least one
      adult ACT team; and
   3. By June 30, 2016, the State will provide ACT team services consistent with the standards
      set forth above in Section V.D.2 with the capacity to serve at least 1,500 individuals in
      the Target Population at any given time.

Taken together with the other ACT provisions, the CMHA requires a robust and effective system
of ACT services to be in place throughout the State as of June 30, 2015 (one year ago). Further,
as of June 30 of this year, the State is required to have the capacity to provide ACT to 1,500
priority Target Population individuals.

As displayed in Table II below, the staff capacity of the 11 adult ACT teams in New Hampshire
has increased by only two FTE in the six months since September of 2015. During the same
time, the total active caseload has increased by only 93 individuals. As of the date of this report,
the State is providing ACT services to 839 unique consumers and as a result is delivering only 56
percent of the ACT capacity required by the CMHA, and is out of compliance on this key
CMHA service.



                                                                                                  9
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 10 of 65




                                           Table II

    Self-Reported ACT Staffing (excluding psychiatry): May 2015 through March 2016


           Region                FTE             FTE            FTE             FTE
                                May-15          Sep-15         Dec-15          Mar-16

 Northern                        14.80          11.29           11.15          11.15
 West Central                    3.00           3.83            2.64           4.37
 Genesis                         7.10            7.5             6.4            7.4
 Riverbend                       7.00            7.3             6.7             7
 Monadnock                       8.20            8.5            7.75           7.75
 Greater Nashua                  8.70           5.98             7.5            6.5
 Manchester                      24.90          26.3            29.75          30.01
 Seacoast                        12.80          11.77           11.77          11.53
 Community Partners              8.20            8.7             7.9            5.9
 Center for Life Management      7.80           6.36            8.16           8.16

           Total                102.50          97.53           99.72          99.77


Chart V below shows ACT staffing trends for the last four reporting periods.




                                                                                        10
         Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 11 of 65




                                           Chart V

 Self-Reported ACT Staffing (excluding psychiatry) by Region: May 2015 through March
                                         2016

 35.00

 30.00

 25.00

 20.00

 15.00                                                                              May-15
                                                                                    Sep-15
 10.00
                                                                                    Dec-15
  5.00                                                                              March 2016

  0.00




It is clear from this chart that ACT staffing has remained at best static, and in some cases has
decreased, over the past four reporting periods. This is true despite previous findings that New
Hampshire was out of compliance with the standards of the CMHA. Based on staffing shortages
alone, more than 500 eligible individuals needing and choosing ACT services are not able to
receive such services.

Table III and Chart VI below display trends in active caseloads for ACT services by Region.




                                                                                              11
     Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 12 of 65




                                         Table III

 Self-Reported ACT Caseload (Unique Adult Consumers) by Region: May 2015 through
                                   March 2016

                                Active     Active    Active    Active
Region                          Cases      Cases     Cases      cases
                                May-15     Sep-15    Dec-15    Mar-16

Northern                          60          72       74         79
West Central                      16          19       21         26
Genesis                           22          30       34         39
Riverbend                         79          60       56         70
Monadnock                         47          54       61         68
Greater Nashua                    63          74       72         72
Manchester                       254         265      270        293
Seacoast                          73          65       65         72
Community Partners                16          70       76         73
Center for Life
Management                        39         37       40         49

Total*                           669         746      766        839

* unduplicated across regions




                                                                               12
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 13 of 65




                                           Chart VI

   Self-Reported ACT Caseload (Unique Adult Consumers) Trends: May 2015 through
                                    March 2016

 350

 300

 250

 200

 150
                                                                                         May-15
 100                                                                                     Sep-15
                                                                                         Dec-15
  50
                                                                                         Mar-16
   0




Based on self-reported staffing data, the Regions appear to have made some gains in enhancing
staff capacity within certain ACT teams, while in others, there has been modest to no increase.
For example, nine Regions now report substance use disorder (SUD) staff competency compared
with the single region reporting SUD competency in the previous report. And, four of the
Regions reported less than one FTE Supported Employment (SE) competency, as opposed to
seven of the 11 reporting less than one FTE SE competency in the previous report.

However, three of the 11 adult ACT teams continue to have fewer than the 7 - 10 professionals
specified for ACT teams in the CMHA. Two Regions have ACT staff:client ratios poorer than
1:10, which also falls outside CMHA parameters. In addition, five of the teams have less than
one FTE nurse; three regions have no peer specialist staff and five others have less than one FTE
peer specialist. Three Regions continue to have less psychiatry time than warranted by their
active caseloads. The statewide figure for ACT psychiatry staffing falls below CMHA
requirements with almost half of the Regions.




                                                                                               13
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 14 of 65




As with the ACT staffing displayed in Chart I, ACT caseloads have grown only minimally since
May of 2015. As noted above, based on a minimal 1:10 staff:client ratio, the State currently has
the capacity to provide ACT to 998 people, and thus is over 500 ACT slots below the required
capacity. The March 2016 caseload of 839 unduplicated individuals is 661 people lower than the
planned capacity to serve high risk people with SMI/SPMI in New Hampshire by June 30, 2016.
Further, some CMHC teams are so far out of compliance with the ACT fidelity requirements for
staffing and intensity of services that it is inappropriate to include their clients within the total
number of people receiving ACT in New Hampshire.

While the New Hampshire DHHS has begun to take more aggressive action to work with
CMHCs in certain Regions to increase their ACT staffing and caseloads, there has been
difficulty increasing service capacity and ensuring ACT services are delivered consistent with
the CMHA. One Region has developed and is implementing a plan of correction, but the State
has not been able achieve fidelity with this Region yet. The State has notified two additional
Regions that they must develop plans of correction. As of the drafting of this report, both of
these Centers have submitted proposed plans of correction, and DHHS is in the process of
reviewing these plans. In two previous reports, the ER has noted that unused capacity for ACT or
any other CMHA service could result in difficulty meeting the overall goals and outcomes for
priority Target Population members identified in the CMHA. While it is a positive development
that the ACT active caseload has increased somewhat since May 2015, reports of unmet demand
for ACT services are a source of significant concern across the various regions. The system is
still serving at least 661 fewer people than could be served if the state had attained the required
capacity to serve 1,500 people.

The staffing data reported by DHHS for ACT services has not yet been independently verified by
the ER. In addition, neither DHHS nor the ER has, to date, reviewed compliance of all ACT
teams with the performance and quality standards specified in CMHA Section V.D.2. The new
QSR being developed by DHHS will examine the provision of ACT services, and QSR findings
are expected to prompt additional corrective action plans where necessary.. However, DHHS
must have additional methods for evaluating ACT services and the system’s adherence to fidelity
standards, since the QSR process focuses primarily on the adequacy of class member services
rather than program performance.

In November 2015, the New Hampshire DHHS awarded a contract to the Community Council of
Nashua (the designated CMHC for the Nashua region) for a new adult ACT team. That new
team is not yet fully staffed, and does not at this point contribute to either the capacity measures
or the active caseload for ACT services within the state. DHHS reports that as of June 8, 2016,
four staff have been hired for this team, and additional staff are being interviewed.

The ER has visited all ten CMHCs to receive an overview of the ACT teams in place in the state,
and revisited three of the CMHCs (four teams) during the past six-month period.


                                                                                                  14
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 15 of 65




The June 30, 2015 ER report contained the following statement:

“In the coming months, it is expected that DHHS will: 1) develop one set of eligibility and
discharge criteria for the provision of ACT services; 2) analyze the high degree of variation
among existing ACT teams; 3) take any steps necessary to assure that ACT services are
consistently meeting the CMHA standards statewide; and 4) expand the capacity of ACT to
meet the requirements of the CMHA.”

DHHS has been working on new regulations defining ACT service eligibility and access
standards for the past year. The most recent draft of regulations was circulated to all parties in
mid-May. It is problematic that these standards have remained outstanding for so long, and the
ER urges the parties to try to reach agreement on the final rules as soon as possible in order to
ensure consistent application of eligibility criteria and appropriate access to ACT services for
members of the Target Population.

In addition to the compliance letters and plans outlined above, DHHS continues to hold ACT
compliance calls with the CMHCs on a monthly basis. DHHS has modified the contract between
the State and the Centers to assure that the Centers assert their understanding of and willingness
to implement the standards and requirements of the CMHA. In addition, the calculation of the
Medicaid funding available to CMHCs under the Managed Care Organization (MCO) contracts
has been revised, resulting in slight increases in overall Medicaid funding available to the
CMHCs via these contracts. The CMHCs are reported to be in the last stages of negotiating sub-
capitation contracts with the MCOs, so it is premature to report on the impact of the increased
Medicaid funding amounts. Finally, DHHS is in the very early stages of implementing the new
Medicaid 1115 Demonstration waiver that ultimately will make funds available to CMHCs for
both infrastructure development and service expansion.

DHHS has new leadership at the Commissioner level as well as at within the newly formed
Division of Behavioral Health. The new leadership has adopted a more assertive and positive set
of strategies to work with the regional CMHCs to assure compliance with the CMHA for both
ACT and SE. It is too early to see whether these activities will be successful, but the ER
believes that steps are being taken to accelerate efforts to assure compliance. In addition, the
CMHCs have initiated efforts to identify and address issues related to workforce shortages that
appear to be hindering attainment of ACT and SE CMHA requirements. As with the state level
actions, it is too early to assess the degree to which these workforce development and
recruitment efforts will be successful. As will be noted below, the soon-to-be-implemented QSR
process is intended to provide additional, actionable, information to support and guide the
fidelity, quality, effectiveness, and capacity of ACT services, as well as all other services under
the CMHA.

DHHS is currently analyzing data related to the number of active CMHC clients who are not
receiving ACT services and who present in psychiatric crisis in hospital emergency rooms.

                                                                                                 15
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 16 of 65




Since one purpose of ACT is to ameliorate and reduce psychiatric crises, this is an opportunity
for state officials to work with local CMHCs to target these clients for ACT participation and
thereby to reduce ED presentations, psychiatric boarding, and unnecessary inpatient admissions.
This is just one example of the importance of ACT to a comprehensive system of care for people
with serious mental illness.

Recent initiatives notwithstanding, New Hampshire remains out of compliance with the
requirements of the CMHA with regard to ACT service capacity. This is the third consecutive
ER report in which the non-compliance with the ACT standards and targets in the CMHA has
been noted. It is urgent that steps be taken to arrest this pattern and to implement concrete plans
for correction.

       Supported Employment
Pursuant to the CMHA’s SE requirements, the State must accomplish three things: 1) provide
SE services in the amount, duration, and intensity to allow individuals the opportunity to work
the maximum number of hours in integrated community settings consistent with their individual
treatment plans (V.F.1); 2) meet Dartmouth fidelity standards for SE (V.F.1); and 3) meet
penetration rate mandates set out in the CMHA. For example, the CMHA states: “By June 30,
2016, the state will increase its penetration rate of individuals with SMI receiving supported
employment …to 18.1% of eligible individuals with SMI.” (Section V.F.2(d)).

The baseline SE penetration rate at the beginning of the CMHA was 12.1% (2012). In the June
2015 ER report, the SE penetration rate was 11.3% -- almost a full percentage point below the
2012 baseline. The June 2015 ER report noted that the penetration rate at that time was 4.8
percentage points below the CMHA target for June 30, 2015.

For this reporting period, the State reports that the CMHCs have achieved the 18.1% penetration
rate specified for June 30, 2016 in the CMHA. Table IV and Chart VII below show the SE
penetration rates for each of the 10 Regional CMHCs in New Hampshire




                                                                                                 16
     Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 17 of 65




                                           Table IV

     Self-Reported CMHC SE Penetration Rates: March 2015 through March 2016

                             Penetration   Penetration   Penetration   Penetration
Region                         Mar-15        Sep-15        Dec-15        Mar-16

Northern                          7.10%         8.20%         9.50%        10.60%
West Central                     13.50%        12.90%        14.30%        15.30%
Genesis                           9.40%         9.30%         9.60%         9.60%
Riverbend                        14.90%        14.20%        14.60%        14.10%
Monadnock                         8.00%        16.40%        19.40%        20.50%
Greater Nashua                    6.10%         7.70%         8.60%         9.00%
Manchester                       14.60%        26.10%        31.70%        36.70%
Seacoast                         10.50%        13.10%        12.70%        11.00%
Community Partners                8.10%        11.60%        13.00%        12.60%
Center for Life Management       16.30%        15.70%        13.00%        24.70%

CMHA Requirement                 16.10%        16.10%        16.10%        18.10%
Statewide Average                11.30%        15.70%        17.90%        19.30%




                                                                                     17
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 18 of 65




                                          Chart VII

     Trends in Self-Reported SE Penetration Rates: March 2015 through March 2016



 40.00%


 35.00%


 30.00%


 25.00%


 20.00%
                                                                              Penetration Mar-15
 15.00%                                                                       Penetration Sep-15
                                                                              Penetration Dec-15

 10.00%                                                                       Penetration Mar-16



  5.00%


  0.00%




As has been noted in previous reports, the CMHA establishes a statewide penetration rate
standard, not individual CMHC penetration rate requirements. However, examination of
penetration rates by region reveals significant inconsistencies in implementation across the
network of SE providers. As with previous reports, there are three regions in the state in which
priority Target Population members are reported to be receiving SE services at or above the June
30, 2016 penetration rate standard. However, the ER notes that seven of the ten CMHCs have
penetration rates below the June 2016 standard, and four of these continue to have penetration
                                                                                               18
        Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 19 of 65




rates below the 12.1% baseline standard for SE in the CMHA. The number of programs falling
below the required penetration rate has remained the same since the January 2016 ER Report.

The above table and chart make it clear that one CMHC, Manchester, is contributing
disproportionately to the State meeting the June 2106 SE penetration rate standard. In fact,
Manchester has 24.9% of the total statewide enrolled clients with SMI/SPMI, but has 47.2% of
the total clients receiving SE (see Appendix A Table 3). If Manchester’s SE clients and total
clients are subtracted from the totals, the SE penetration rate would be 13.6%, barely above the
original CMHA SE target of 12.1%. This analysis demonstrates that the current statewide
penetration rate is significantly skewed by one Region’s performance.

As noted in previous reports, this kind of wide variation in access to and utilization of SE
services on a sub-state level affects overall attainment of CMHA objectives for the Target
Population. Thus, the ER will continue to monitor and report on individual CMHC penetration
rates as well as the statewide total. The ER will also continue to monitor implementation of
applicable CMHC plans of correction related to improving SE penetration and performance at
the regional level. Three CMHCs are currently developing such plans of correction under the
guidance of DHHS.

Several other issues related to the implementation and monitoring of Supported Employment
services will need to be resolved in the coming months. First, as noted earlier in this report,
there is currently no consistently reported data on the extent to which SE service participants are
attaining and sustaining competitive employment in integrated community settings. Success in
obtaining competitive employment is not a specific numerical standard in the CMHA.
However, the CMHA does require the State to operate SE services in conformance with the
Dartmouth fidelity standards, and attaining and sustaining competitive employment in the
community is an indicator of adherence to those standards. The ER will be working with the
State and the CMHCs to develop a consistent and reliable method for reporting on obtaining and
sustaining competitive employment in the community. The soon-to-be implemented QSR
process, in concert with related DHHS SE fidelity assessment activities, will assist in addressing
SE issues, but cannot take the place of independently verified fidelity assessments.

        Supported Housing
The CMHA requires the State to achieve a target capacity of 450 SH units funded through the
Bridge Subsidy Program by June 30, 2016. As of the end of April1 2016, DHHS reports having
423 individuals in leased SH apartments, 26 people approved for a subsidy but not yet leased,
and one person unaccounted for. Assuming these people move into leased units soon, the State
will be at or very close to compliance with the CMHA standards for SH effective June 30, 2016;

1
  Note that the data in Table V below extends only through March, 2016, so some figures may differ from the text of
this report.


                                                                                                                19
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 20 of 65




the State has already attained the SH figure of 340 units by June 30, 2015, as required by the
CMHA.

Table V below summarizes recent data supplied by DHHS related to the Bridge Subsidy
Program.




                                                                                                 20
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 21 of 65




                                            Table V

 New Hampshire DHHS Self-Reported Data on the Bridge Subsidy Program: September
                           2015 through March 2016

   Bridge Subsidy Program                September 2015
         Information                                                       March 2016

Total housing slots (subsidies)                 450                             450
available

Total people for whom rents are                 376                            415 *
being subsidized

Individuals accepted but waiting                 23                             22 *
to lease

Individuals currently on the wait                0                               0
list for a bridge subsidy

Total number served since the                   466                             518
inception of the Bridge Subsidy
Program

Total number receiving a                         70                              71
Housing Choice (Section 8)
Voucher

*As of the end of April 2016, 423 individuals have signed leases, and 26 have been approved but
are still waiting to lease.

The CMHA stipulates that “…all new supported housing …will be scattered-site supported
housing, with no more than two units or 10% of the units in a multi-unit building with 10 or
more units, whichever is greater, and no more than two units in any building with fewer than 10
units known by the State to be occupied by individuals in the Target Population.” (V.E.1(b)).
Table VI below displays the reported number of units leased at the same address.




                                                                                              21
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 22 of 65




                                            Table VI

               Self-Reported Bridge Subsidy Housing Concentration (Density)

                                        September 2015                March 2016

Number of properties with one                  290                        317
leased SH unit at the same
address

Number of properties with two                  27                          22
SH units at the same address

Number of properties with three                 2                          13
SH units at the same address

Number of properties with four                  4                           1
SH units at the same address

Number of properties with five                  1                           2
SH units at the same address

Number of properties with six                   1                           0
SH units at the same address



As can be seen in the table, almost 90% of the leased units are at a unique address. This
supports a conclusion that the Bridge Subsidy Program, to a large degree, is operating as a
scattered-site program. For the 10% of the units shown in Table V to be at the same address, it is
not known at this time whether the unit density standards included in the CMHA are being met.
For example, in the two properties that are noted to have five units at the same address, the total
number of units at each address is not yet reported. If those buildings have a total of 50 or more
units, then having five Bridge Subsidy Program leases in that property would comport with the
CMHA. However, if those properties have fewer than 50 total units, then the five units leased in
those buildings would exceed the scattered-site definition as quoted above. DHHS is collecting
information on the total units in each property where there are two or more Bridge units at the
same address, and this data will be reported in the next ER report.

It should be noted that these data do not indicate whether any of the leased units are roommate
situations, and if so, whether such arrangements meet the requirements of the CMHA (V.E.1(c)).




                                                                                                22
           Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 23 of 65




DHHS reports, and anecdotal information seems to support, that there are very few, if any,
roommate situations among the currently leased Bridge Subsidy Program leased units.2

Current data is also not available on the degree to which Bridge Subsidy Program participants
access and utilize support services and whether or not the services are effective and meet
individualized needs. Receipt of services is not a condition of eligibility for a subsidy under the
Bridge Program, but the CMHA does specify that “…supported housing includes support
services to enable individuals to attain and maintain integrated affordable housing and includes
support services that are flexible and available as needed and desires….”. (V.E.1(a)). As noted
in the January 2016 ER Report, DHHS has been working on a method to cross-match the Bridge
Subsidy Program participant list with the Phoenix II and Medicaid claims data. This will allow
documentation of the degree to which Bridge Subsidy Program participants are actually
receiving certain mental health or other services and supports.

In the previous report, the ER identified a number of important and needed data elements
associated with the SH eligibility criteria and lack of a waitlist, as well as monitoring
implementation of the SH program in the context of the CMHA. These include:

                   Total number of Bridge Subsidy Program applicants per quarter;
                   Referral sources for Bridge Subsidy Program applicants;
                   Number and percent approved for the Bridge Subsidy Program;
                   Number and percent rejected for the Bridge Subsidy Program;
                       o Reasons for rejection of completed applications, separately documenting
                           those who are rejected because they do not meet federal HCV/Section 8
                           eligibility requirements;
                   Number and disposition of appeals related to rejections of applications;
                   Elapsed time between application, approval, and lease-up;
                   Number of new individuals leased-up during the quarter;
                   Number of terminations from Bridge subsidies;
                   Reasons for termination:
                       o Attained permanent subsidized housing (Section 8, public housing, etc.);
                       o Chose other living arrangement or housing resource;
                       o Moved out of state;
                       o Deceased;
                       o Long term hospitalization;
                       o Incarceration;
                       o Landlord termination or eviction; or
                       o Other;
                   Number of Bridge Subsidy Program participants in a roommate situation; and
2
    DHHS reports that currently there is one voluntary roommate situation reflected in the above data.


                                                                                                         23
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 24 of 65




              Lease density in properties with multiple Bridge Subsidy Program leases.

 This information is important in assessing whether a waitlist is properly maintained and in
assessing whether or not support services are adequate to enable the individual to “attain and
maintain integrated affordable housing” and whether services are “flexible and available as
needed and desired.” Most rental assistance programs collect and report such information, given
its intrinsic value in monitoring program operations. Further, such data enhances DHHS’ ability
to demonstrate the timeliness and effectiveness of access of the priority target population to this
essential CMHA program component. Most importantly, this data is necessary to help the ER
determine compliance with CMHA Sections IV.B, IV.C, and VII.A. The ER will continue to
work collaboratively with DHHS to identify sources and methods for such data collection and
reporting.

DHHS has been in the process of drafting Bridge Subsidy Program rules, in consultation with
plaintiffs and the United States. A final draft version is not available at the time of this report.
The ER expects DHHS to promulgate these rules promptly, as they are important to ensuring
access to and assessment of the Bridge Subsidy Program.

       Transitions from Institutional to Community Settings
During the past 18 months the ER has visited both Glencliff and NHH on at least three separate
occasions to meet with staff engaged in transition planning under the new policies and
procedures adopted by both facilities late last year. Transition planning activities related to
specific current residents in both facilities were observed, and most recently, a small non-random
sample of resident transition records have been reviewed. Additional discussions have also been
held with both line staff and senior clinicians/administrators regarding potential barriers to
effective discharge to the most appropriate community settings for residents at both facilities.

The ER has participated in two meetings of the Central Team, now that it has been
operationalized. The Central Team has about eight months of operational experience, and has
started reporting data on its activities. To date, 13 individuals have been submitted to the Central
Team, nine from Glencliff and four from NHH. Table VII below summarizes the discharge
barriers that have been identified by the Central Team with regard to these individuals. Note
that most individuals encounter multiple discharge barriers, resulting in a total substantially
higher than the number of individuals reviewed by the Central Team.




                                                                                                   24
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 25 of 65




                                            Table VII

 Discharge Barriers Identified by the Central Team: September 2015 through April 2016

            Discharge Barriers                     NHH                         Glencliff

       Legal                                         1                              2

       Residential                                   2                              6

       Financial                                     1                              4

       Clinical                                      2                              4

       Family/Guardian                               1                              0

       Other                                         1                              0


       Glencliff

In the time period from January to March 2016, Glencliff reports that it has admitted three
individuals, and has had only one discharge. The wait list for admission has remained relatively
constant: averaging 15 people during this time frame. The length of stay for the one person
discharged was 1,492 days. Since September 17, 2015, Glencliff has discharged only five
individuals: one to a five+ bed community residence; one to supported residential care; one to
enhanced family care; one to their own home; and one to NHH. Only two of the five are clearly
to small-scale community settings. Glencliff reports having 23 individuals engaged in discharge
planning as of April of this year. Unfortunately, only a fraction of these individuals are in the
“active” transition process and about half – 10 of 23 – are to be transitioned to institutional
nursing home settings. Eleven individuals in the transition process are reported to have a dual
diagnosis of intellectual/developmental disability (IDD), as well as mental illness. Between
September 2015 and April 2016, NHH reports discharging nine patients to the Glencliff Home.

The ER remains concerned about both the steady flow of referrals to Glencliff (especially those
referrals coming from NHH) and the lack of discharges to integrated community settings. In
keeping with the goals of the CMHA, and its transition planning provisions, the ER recommends
that any NHH patient for whom placement at Glencliff is being considered be referred to the
Central Team for an evaluation of barriers to community living and an exploration of alternative
dispositions. These cases also should receive heightened scrutiny under the state PASRR
process.

Section V.E.3(g) of the CMHA requires the State by June 30, 2015 to: “…have the capacity to
serve in the community four individuals with mental illness and complex health care needs
residing at Glencliff….” This target increases to a total of ten such individuals to be discharged

                                                                                                25
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 26 of 65




to the community by June 30, 2016. The CMHA includes several options for attaining that goal,
including the issuance of an RFP to secure new residential services beds and/or to access existing
community capacity in the residential services system. The CMHA also anticipates
collaboration with the DHHS Elderly and Adult Services component to assist with implementing
transition plans for this population.

As noted in the June 30, 2015 and January 5, 2016ER reports, DHHS has been endeavoring to
access the Enhanced Family Care service modality included in New Hampshire’s Home and
Community-Based Services waiver for people who are elderly or have disabilities. DHHS has
also been exploring other Medicaid waiver and in-plan service authorities to piece together an
array of services for each of the individuals at Glencliff for whom this type of transition planning
is being conducted. Now, 12 months later, the technical and financial complexities of these
mechanisms have not yet been resolved, and no Glencliff resident has yet been discharged to a
community setting using these mechanisms. The CMHA specifically identifies up to $100,000
per person that can be used, in concert with other applicable Medicaid waiver or similar
financing approaches, to develop or acquire the capacity for community transitions for Glencliff
residents. None of these funds have been expended to date, and no RFP for enhanced residential
capacity has been issued by the State. DHHS reports that it is in negotiations with one or more
vendors to effectuate discharge of residents with complex medical needs from Glencliff into
small-scale community settings..

The ER continues to find that the State is not in compliance with Section V.E.3(g) of the CMHA,
as well as a number of provisions throughout Section VI. To date, no capacity has been created
or identified to transition individuals meeting the criteria of this section, and no transitions have
been accomplished. The ER believes that some of the strategies being developed by DHHS and
the Central Team to effectuate such transitions have the potential to be effective both for the
individuals to be transitioned, and to facilitate future transitions for similar persons now residing
at Glencliff. As in the January 2016 Report, the ER continues to find that the progress in
creating capacity and effectuating transitions at Glencliff has been much too slow and ineffectual
to meet the requirements of the CMHA.

       PASRR

The ER met in April of this year with the DHHS staff overseeing the PASRR functions in New
Hampshire. ,Based on verbal information provided by the staff, it appears the new PASRR
vendor (University of Massachusetts Medical School) is performing PASRR functions in
conformance with its contract with the State.

In the coming months, the ER will work with DHHS to develop data extraction and reporting
methods that will facilitate ER analyses of this function. Monitoring of the PASSR process of
those referred for admission to Glencliff remains a high priority for the ER in 2016.



                                                                                                  26
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 27 of 65




       New Hampshire Hospital

For the time period January through March 2016,DHHS reported that NHH effectuated 309
admissions and 300 discharges. The mean daily census was 131, and the median length of stay
for discharges was 11 days.

Table VIII below compares NHH discharge destination information for the three most recent
reporting periods. The numbers are expressed as percentages because the length of the reporting
periods had not previously been consistent, although the type of discharge destination data
reported has been consistent throughout.




                                                                                             27
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 28 of 65




                                           Table VIII

            New Hampshire Hospital Self-Reported Data on Discharge Destination

Discharge Destination            Percent January    Percent July 1      Percent September
                                 2014 through       2015 through        19, 2015 through
                                 May 2015           September 18,       April 20, 2016
                                                    2015

Home – live alone or with        74.4               67.3                80.2%
others

Glencliff                        0.4%               0.02%               0.06%

Homeless Shelter/motel           3.8%               2.4%                2.7%

Group home 5+/DDS                3.4%               9.02%               3.2%
supported living, etc.

Jail/corrections                 1.5%               0.04%               1.4%

Nursing home/rehab facility      1.9%               3.0%                .08%

Unknown                          12.6%              17.64%              6.8%



Based on the above data, there would appear to be some increases in discharges to independent
living arrangements and parallel decreases in the number of discharges for which the destination
is unknown. For the period September 2015 through April 2016, the figures above in Table VIII
are based on a denominator of 1,527 total discharges from NHH. In addition, the State reports
that there were 158 readmissions within 30 days, about ten percent of the discharges.
Readmission data to NHH or equivalent institutional facilities is an important metric to help
determine whether the community system is meeting individual needs and achieving outcome
criteria in the CMHA. In the coming months, the ER will work with the state to gather
discharge data at NHH and the other Designated Receiving Facilities (DRFs) or equivalent
facilities within 30, 90, 180, and 365 days. The ER will include this data and an analysis of this
data in the next ER report.

The most recent Quarterly Data Report contains new, consistently reported, information on the
hospital-based DRFs/APRTP in New Hampshire. It is important to capture the DRF/APRTP
data and combine it with NHH and Glencliff data to get a total institutional census across the
state for the SMI population. The ER appreciates the State gathering this information.. Table IX
summarizes this data.


                                                                                                28
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 29 of 65




                                             Table IX

        Self-Reported DRF/APRTP Utilization Data: January through March 2016

DRF/APRTP Admissions             Percent       Average      Discharges    Length of
                                               Census                      Stay for
                               Involuntary                                Discharges

  Franklin           69           53.6%           7.9            76           8.6

   Cypress          257           18.7%           14.7          261           4.2
   Center

 Portsmouth          46             NA            NA            NA            NA

   Elliot            65           18.5%           19.7           57            15
  Geriatric

    Elliot          121           30.6%           18.1          122           7.4
  Pathways

   Total*           512          26.2%*           60.1          516          8.8avg

*Totals do not include Portsmouth

It should be noted that to date DHHS is not reporting discharge destinations for the discharges
from DRFs/the APRTP. The ER will continue to work with DHHS to develop a reporting
mechanism for this information. Anecdotally, some proportion of discharges from the DRFs/
APRTP appear to go to institutional settings – NHH and nursing facilities -- so it will be
important to track this data in the future.

In the previous two reports, the ER has identified the waiting list (hospital ED boarding) for
admission to NHH to be an important indicator of overall system performance. Based on recent
information reported by DHHS, the average number of adults waiting for a NHH inpatient
psychiatric bed was 24 per day in FY 2014; 25 per day in FY 2015; and to date in FY 2016 has
been 28 per day. The constant and increasing number of adults awaiting inpatient admission to
NHH is of concern to DHHS and many other parties in New Hampshire. In most mental health
systems, a high number of adults waiting for inpatient admissions is indicative of a need for
enhanced crisis response (e.g., mobile crisis) and high intensity community supports (e.g., ACT).




                                                                                                  29
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 30 of 65




As noted earlier in this report, DHHS is analyzing data related to adults boarding in EDs who
may have some connection to the mental health system. When complete, this data analysis
should be used to identify members of the target population at risk of inpatient admission and to
facilitate increasing enrollments in ACT and other community services designed to prevent or
ameliorate mental health crisis, emergency department presentations and boarding, and hospital
admissions. The ER will follow up and make this a priority.

        Summary of Transition Issues

Over the past three reports, the ER has consistently noted that the transitions process at Glencliff
is moving very slowly. This appears to be true both at the individual consumer level, and at the
system level. Although information at this point is anecdotal, interviews with both line staff and
administrators, plus some selective record reviews, indicate that it is taking substantial amounts
of time to overcome the many and varied barriers to discharge to the community. Although the
Central Team is now fully operational, it has been concentrating on a small number of cases .
With respect to NHH, transition issues include the need to minimize or eliminate discharges to
inappropriate settings like homeless shelters. At the all parties meeting on May 5, 2016, the ER
reiterated that DHHS needs to take aggressive executive action to increase both the speed and
effectiveness of transitions from NHH and Glencliff. The ER will closely monitor progress with
discharge planning and transitions to the community over the next six months.

       Family and Peer Supports
       Family Supports

Per the CMHA, the State has maintained its contract with NAMI New Hampshire for family
support services. The ER will arrange for additional NAMI meetings during the next six months.

       Peer Support Agencies

As noted in the June 30, 2015 report, New Hampshire reports having a total of 16 peer support
agency program sites, with at least one program site in each of the ten regions. The State reports
that all peer support centers meet the CMHA requirement to be open eight hours per day, five
and one half days per week. At the time of that report, the State reported that those sites had a
cumulative total of 2,924 members, with an active daily participation rate of 169 people
statewide. As can be seen from the most recent quarterly data report included in Appendix A,
the State currently reports total membership to be 2,879, with active daily visits averaging 142
people. In the September 2015 data report, the total membership was reported to be 2,714
people, with average daily statewide visits of 171. Thus, although statewide membership has
remained somewhat stable, the active daily participation has gone down by about 17% in the
most recent quarter.



                                                                                                 30
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 31 of 65




The CMHA requires the peer support programs to be “effective” in helping individuals in
managing and coping with the symptoms of their illness, self-advocacy, and identifying and
using natural supports. As noted in previous reports, enhanced efforts to increase active daily
participation appear to be warranted for the peer support agency programs.




                                                                                                  31
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 32 of 65




   IV. Quality Assurance Systems
The two previous ER reports have described the collaborative process being employed to design
and implement a comprehensive Quality Management and Quality Service Review (QM/QSR)
process in concert with the expectations of the CMHA. In the past 12 months, DHHS has made
considerable progress in the design of the QSR process required by the CMHA.

At the request of DHHS, the ER engaged an experienced expert in QSR, Lyn Rucker, to work
with the DHHS QSR team. Over the past several months, the ER and Ms. Rucker have:

      Reviewed three iterations of documents specifically related to the QSR design and
       implementation;
      Created a matrix to be used to cross-walk specific requirements and outcomes of the
       CMHA to the QSR process;
      Met by phone and in person with QM/QSR team members at least four times;
      Conducted an on-site two day work session with members of the QM/QSR team to
       discuss in detail the process, instrumentation, scoring, and utilization of the QSR
       information within the CMHA and DHHS quality frameworks; and
      Participated in an additional joint meeting of the CMHA plaintiffs’ representatives and
       the DHHS QM/QSR team (including legal representatives of the State as well).

The DHHS QM/QSR team has made considerable progress in all elements of the QSR design,
including development of:

      A QSR manual of procedures;
      A random sampling methodology that reflects the priority populations served under the
       CMHA;
      A detailed schedule of on- and off-site activities related to each QSR review;
      A QSR instrument that integrates information from all the various input sources for the
       QSR;
      Instruments for client and staff interviews and record reviews; and
      A set of instrument scoring algorithms.

The initial field test of the QSR system will take place in July 2016. For the second field test,
scheduled for September, Ms. Rucker will accompany the QSR team on-site to review and
provide technical assistance on the QSR process. Following that September QSR field test, it is
expected that the parties will meet to discuss any proposed changes to the QSR process or
design, after which the QSR documents will be finalized and the QSR regional reviews will
begin.


                                                                                                 32
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 33 of 65




In previous reports, the ER has noted that there are separate but related issues regarding
independent verification that ACT and SE services are being provided in a consistent manner by
all CMHCs in conformance with the standards of the CMHA. As noted in the sections on ACT
and SE, DHHS is working on a process for assuring fidelity for ACT and SE. Once the QSR
process is fully operational, DHHS will be able to add QSR information to other data and
oversight information to assure all CMHCs meet the CMHA fidelity standards.


   V.      Summary of Expert Reviewer Observations and
           Priorities
The CMHA and ER have now been in place for 24 months. At the last two all parties
meetings, the ER has expressed increasing concern related to: (a) continued lack of
compliance with at least two major requirements of the CMHA; and (b) long elapsed times
and/or delays related to implementation of system improvements or capacities related to
the CMHA. The ER has emphasized the need for the State to be more aggressive, assertive,
planful, and timely in its implementation and oversight efforts to assure compliance with the
CMHA.

As described in several sections of this report, DHHS has begun to implement more aggressive
measures to both remove potential barriers to CMHA implementation, and to assure effective
action on the part of the ten CMHAs to achieve compliance. The ER believes these management
initiatives are positive and have the potential to improve performance vis-à-vis the CMHA.

Nonetheless, the State has been and currently remains out of compliance with at least two
critical provisions of the CMHA. These are:

   1. Sections V.D.3(a, b, and d), which together require that all ACT teams meet the
      standards of the CMHA; that each mental health region have at least one adult ACT
      Team; and that by June 30, 2016, the State provide ACT services that conform to
      CMHA requirements and have the capacity to serve at least 1,500 people in the
      Target Population at any given time; and
   2. Sections V.E.2(b) and V.E.3(g)(h) which together require that by now the State
      “have the capacity to serve in the community [ten] individuals with mental illness
      and complex health care needs residing at Glencliff….”

As clearly stated by the ER at the May 2016 all parties meeting, the time for patience on these
issues is over. Priority Target Population members are going without needed ACT services; are
boarding in hospital emergency departments; and are waiting for long periods of time in NHH or
Glencliff for opportunities to live in the community. There is still insufficient data to assess
compliance in other key areas of the CMHA, including fidelity with CMHA service standards
and PASRR provisions.

                                                                                              33
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 34 of 65




In order to assure that the State continues to move forward with implementation obligations
under the CMHA and to proactively address identified areas of noncompliance, the ER
recommends that the State carry out the following action steps:

   1. By August 1, 2016, circulate to all parties a detailed plan with implementation steps and
       time lines to achieve compliance with the CMHA requirements for ACT services;
   2. By August 1, 2016, circulate to all parties a detailed plan with implementation steps and
       timelines to achieve CMHA penetration rates and fidelity standards for supported
       employment throughout New Hampshire;
   3. By August 1, 2016 circulate to all parties a detailed plan with implementation steps and
       timelines to achieve CMHA requirements to assist 10 residents of Glencliff with complex
       medical needs to move into integrated settings as soon as possible;
   4. Starting September 1, 2016, and each month following, submit to all parties a monthly
       progress report of the steps taken and completed under these respective plans to assure
       compliance with CMHA requirements as identified in this report;
   5. By October 1, 2016, complete the field tests and technical assistance related to the QSR,
       convene a meeting with plaintiffs and the United States to discuss any recommended
       design or process changes, and publish a final set of QSR documents governing the
       process for future QSR activities;
   6. Complete at least one QSR site review per month between October 2016 and June 2017,
       with the exception of the month of December, and circulate to all parties the action items,
       plans of correction (if applicable), and updates on implementation of needed remedial
       measures (if applicable) resulting from each of these visits;
   7. Starting July 1, 2016, circulate to all parties on a monthly basis the most recent data
       reports of the Central Team;
   8. No later than October 1, 2016, assure that final rules for supportive housing and ACT
       services are promulgated in accordance with the draft rules developed with input from all
       parties;
   9. By October 1, 2016, augment the quarterly data report to include: (a) ACT staffing and
       utilization data for each ACT team, not just for each region; (b) discharge destination
       data and readmission data (at 30, 90, and 180, days) for people discharged from NHH and
       the other DRFs; (c) reporting from the two Mobile Crisis programs, including hospital
       and ED diversions; and (e) supportive housing data on applications, time until
       determination, reason for ineligibility determination, and utilization of supportive
       services for those receiving supportive housing.
   10. By October 1, 2016, (immediately prior to the next All Parties meeting) and then by
       December 1, 2016 (the time just before the next ER report), factually demonstrate that
       significant and substantial progress has been made towards meeting the standards and
       requirements of the CMHA with regard to the ACT, SE and placement of individuals
       with complex medical conditions from Glencliff into integrated community settings.


                                                                                               34
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 35 of 65




   11. By October 1, 2016 demonstrate that aggressive executive action has been taken to
       address the pace and quality of transition planning from NHH and Glencliff through the
       development of a specific plan to increase the speed and effectiveness of transitions from
       these facilities.

Failure to accomplish these action steps in a timely way will likely result in additional findings
of non-compliance on the part of the State with regard to the terms, standards and requirements
of the CMHA.




                                                                                                 35
Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 36 of 65




                            Appendix A

         New Hampshire Community Mental Health Agreement

                    State’s Quarterly Data Reports

                      October to December 2015

                                And

                       January to March 2016




                                                                    36
      Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 37 of 65




New Hampshire Community Mental Health Agreement
Quarterly Data Report


                                                                  October to December 2015




New Hampshire Department of Health and Human Services

Office of Quality Assurance and Improvement



March 17, 2015




         The Department of Health and Human Services’ Mission is to join communities and families
                in providing opportunities for citizens to achieve health and independence

                                                                                                    37
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 38 of 65




Community Mental Health Agreement Quarterly Report
New Hampshire Department of Health and Human Services

Publication Date: 3/17/2016

Reporting Period: 10/1/2015-12/31/2015

Notable Changes from Prior Report
      ACT staffing data is collected and reported through a new method that was adopted to
       increase accuracy in reporting. Data collection was streamlined in two ways: by
       redesigning the data collection tool to focus on CMHA reporting needs and by splitting
       the collection of full time equivalent and staff competency data. Reporting is now split
       into two areas, the first counts full time equivalent positions on the ACT teams by type of
       clinician (Nurse, Masters Level Clinician/or Equivalent, Functional Support Worker, Peer
       Specialist, Psychiatrist/Nurse Practitioner). The second set of reports provides staff
       competency tables. These tables reflect the sum of FTE's trained to provide each service
       type regardless of the clinician type. The competency values are not a reflection of the
       volume of time available to deliver services, rather the quantity of staff available to
       provide each service because if staff is trained to provide multiple competencies, their
       entire FTE value will be credited to each competency.

      DRF reporting is collected through a new method that was adopted to increase accuracy
       in reporting. The new collection method captures patient stay data for all patients who
       were being treated in a DRF during a month and accurately and precisely records the
       admission and discharge dates for all patients. Additional information is also reported for
       each DRF to parallel the information provided for New Hampshire Hospital. Note: DRF
       data from Portsmouth only represents involuntary admissions. DHHS is working with
       Portsmouth to expand their reporting.

      To be more meaningful, Glencliff Home length of stay reporting has been modified to
       show the actual lengths of stay for each discharge.




                                                                                               38
         Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 39 of 65




Community Mental Health Agreement Quarterly Report
New Hampshire Department of Health and Human Services

Publication Date: 3/17/2016

Reporting Period: 10/1/2015-12/31/2015

1. Community Mental Health Center Services: Unique Count of Adult Assertive Community
Treatment Consumers
                                                                              Unique
                                                 October November December Consumers
 Center Name                                        2015     2015     2015 in Quarter

 01 Northern Human Services                           72           73          74            79

 02 West Central Behavioral Health                    20           19          21            22

 03 Genesis Behavioral Health                         31           31          34            35

 04 Riverbend Community Mental Health Center          59           57          56            61

 05 Monadnock Family Services                         57           57          61            62

 06 Community Council of Nashua                       69           73          72            76

 07 Mental Health Center of Greater Manchester       272         269         270            286

 08 Seacoast Mental Health Center                     64           64          65            68

 09 Community Partners                                75           75          76            77

 10 Center for Life Management                        39           40          40            42

 Total                                               756         757         766            808

 Revisions to Prior Period: None

 Data Source: NH Phoenix 2

 Notes: Data extracted 3/1/16; consumers are counted only one time regardless of how many
 services they receive.




                                                                                        39
      Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 40 of 65



2a. Community Mental Health Center Services: Assertive Community Treatment Staffing Full
Time Equivalents
                                                         December 2015




                                                                                        rse Practitioner
                                                                                        Psychiatrist/Nu
                                                                      TotalSpecialist
                                     Masters Level
                                     Clinician/or




                                                                      Psychiatry)
                                     Equivalent




                                                                      (Excluding
                                     Functional
                                                     Support
                                                     Worker
                                     Nurse




                                                                      Peer
 Center Name

 01 Northern Human Services          0.53    2.60       7.49      0.53 11.15                   0.70

 02 West Central Behavioral Health   0.40    1.05       1.19      0.00          2.64           0.14

 03 Genesis Behavioral Health        0.60    2.00       3.00      0.80          6.40           0.50

 04 Riverbend Community Mental
 Health Center                       0.50    3.00       3.20      0.00          6.70           0.40

 05 Monadnock Family Services        1.00    1.25       5.00      0.50          7.75           0.65

 06 Community Council of Nashua      1.00    4.00       2.50      0.00          7.50           0.25

 07 Mental Health Center of
 Greater Manchester                  2.03 18.00         9.22      0.50 29.75                   1.00

 08 Seacoast Mental Health Center    1.43    3.34       6.00      1.00 11.77                   0.60

 09 Community Partners               0.40    2.00       5.00      0.50          7.90           0.40

 10 Center for Life Management       1.00    2.00       4.16      1.00          8.16           0.30

 Total                               8.89 39.24 46.76             4.83 99.72                   4.94

2b. Community Mental Health Center Services: Assertive Community Treatment Staffing
Competencies, Substance Use Disorder Treatment
                                                     December
 Center Name                                             2015

 01 Northern Human Services                                    2.45

 02 West Central Behavioral Health                             1.13

 03 Genesis Behavioral Health                                  4.90



                                                                                                           40
         Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 41 of 65




 04 Riverbend Community Mental Health
 Center                                              1.40

 05 Monadnock Family Services                        2.40

 06 Community Council of Nashua                      4.00

 07 Mental Health Center of Greater
 Manchester                                          9.00

 08 Seacoast Mental Health Center                    0.24

 09 Community Partners                               1.00

 10 Center for Life Management                       4.00

 Total                                              30.52


2c. Community Mental Health Center Services: Assertive Community Treatment Staffing
Competencies, Housing Assistance
                                               December
 Center Name                                       2015

 01 Northern Human Services                          9.28

 02 West Central Behavioral Health                   3.00

 03 Genesis Behavioral Health                        5.40

 04 Riverbend Community Mental Health
 Center                                              6.00

 05 Monadnock Family Services                        1.00

 06 Community Council of Nashua                      5.50

 07 Mental Health Center of Greater
 Manchester                                         24.50

 08 Seacoast Mental Health Center                    7.00

 09 Community Partners                               5.75

 10 Center for Life Management                       6.86


                                                                                      41
         Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 42 of 65




 Total                                                      74.29


2d. Community Mental Health Center Services: Assertive Community Treatment Staffing
Competencies, Supported Employment
                                                       December
 Center Name                                               2015

 01 Northern Human Services                                  0.84

 02 West Central Behavioral Health                           0.19

 03 Genesis Behavioral Health                                2.80

 04 Riverbend Community Mental Health
 Center                                                      0.20

 05 Monadnock Family Services                                1.00

 06 Community Council of Nashua                              6.50

 07 Mental Health Center of Greater
 Manchester                                                  1.75

 08 Seacoast Mental Health Center                            1.00

 09 Community Partners                                       0.25

 10 Center for Life Management                               0.30

 Total                                                      14.83

 Revisions to Prior Period: None

 Data Source: Bureau of Behavioral Health CMHC ACT Staffing Census Based on CMHC self-
 report

 Notes for 2b-d: Data extracted 3/1/16; The Staff Competency values reflect the sum of FTE's
 trained to provide each service type. These numbers are not a reflection of the services
 delivered, rather the quantity of staff available to provide each service. If staff is trained to
 provide multiple service types, their entire FTE value will be credited to each service type.




                                                                                                     42
      Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 43 of 65



3. Community Mental Health Center Services: Annual Supportive Employment Penetration
Rates for Prior 12 Month Period
                                                12 Month Period Ending December 2015

                                                Supported
                                              Employment      Total Eligible   Penetration
 Center Name                                   Consumers       Consumers              Rate

 01 Northern Human Services                            121            1,277           9.5%

 02 West Central Behavioral Health                      92              642          14.3%

 03 Genesis Behavioral Health                          128            1,330           9.6%

 04 Riverbend Community Mental Health
 Center                                                201            1,375          14.6%

 05 Monadnock Family Services                          188              971          19.4%

 06 Community Council of Nashua                        130            1,508           8.6%

 07 Mental Health Center of Greater
 Manchester                                            999            3,154          31.7%

 08 Seacoast Mental Health Center                      159            1,252          12.7%

 09 Community Partners                                 105              809          13.0%

 10 Center for Life Management                         179              746          24.0%

 Deduplicated Total                                  2,294           12,842          17.9%

Revisions to Prior Period: None

Data Source: NH Phoenix 2

Notes: Data extracted 2/16/16; consumers are counted only one time regardless of how many
services they receive

4. New Hampshire Hospital: Adult Census Summary
                                               October - December
 Measure                                                     2015

 Admissions                                                    330


                                                                                       43
          Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 44 of 65




 Mean Daily Census                                                126

 Discharges                                                       322

 Median Length of Stay in Days for Discharges                      12

 Deaths                                                             3

 Revisions to Prior Period: None

 Data Source: Avatar

 Notes: Data extracted 3/1/16; Average Daily Census includes patients on leave and is rounded
 to nearest whole number

5a. Designated Receiving Facilities: Admissions
                                                      October - December 2015

                                                Involuntary        Voluntary           Total
 DRF                                            Admissions        Admissions      Admissions

 Franklin                                               27                 42                69

 Manchester (Cypress Center)                            42                167             209

 Portsmouth*                                            35                 NA                36

 Elliot                                                 28                 85             113

 Total                                                 132                295             427

 * Portsmouth data only reflect involuntary admissions. DHHS is working with Portsmouth to
 expand their reporting to cover voluntary admissions for future releases of data.




                                                                                             44
          Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 45 of 65



5b. Designated Receiving Facilities: Mean Daily Census
                                                  October - December
 DRF                                                            2015

 Franklin                                                           7

 Manchester (Cypress Center)                                      13

 Portsmouth*                                                        3

 Elliot                                                           13

 Total                                                              9


5c. Designated Receiving Facilities: Discharges
                                                  October - December
 DRF                                                            2015

 Franklin                                                         65

 Manchester (Cypress Center)                                     207

 Portsmouth*                                                      37

 Elliot                                                          114

 Total                                                           423


5d. Designated Receiving Facilities: Median Length of Stay in Days for Discharges
                                                  October - December
 DRF                                                            2015

 Franklin                                                           5

 Manchester (Cypress Center)                                        4

 Portsmouth*                                                        5

 Elliot                                                             7

 Total                                                              5




                                                                                    45
     Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 46 of 65




* Portsmouth data only reflect involuntary admissions. DHHS is working with Portsmouth to
expand their reporting to cover voluntary admissions for future releases of data.

Revisions to Prior Period: None

Data Source: NH DRF Database

Notes: Data Compiled 3/1/16; Information collection method for table was redesigned to
increase accuracy

6. Glencliff Home: Census Summary
                                                October - December
Measure                                                       2015

Admissions                                                         4

Average Daily Census                                            114

Discharges                                                         4

Individual Lengths of Stay in Days for
Discharges                                    464, 1182, 1658, 3049

Readmissions                                                       0

Mean Overall Admission Waitlist                                  16

Revisions to Prior Period: None

Data Source: Glencliff Home

Notes: Data Compiled 3/1/16; means rounded to nearest whole number




                                                                                            46
      Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 47 of 65



7. NH Mental Health Consumer Peer Support Agencies: Census Summary
                                            October - December 2015

                                                 Total       Average
 Peer Support Agency                          Members      Daily Visits

 Alternative Life Center Total                      455              39

     Conway                                         135              10

     Wolfeboro Outreach                              18               0

     Berlin                                         103              10

     Littleton                                      118              10

     Colebrook                                       81               9

 Stepping Stone Total                               490              21

     Claremont                                      415              17

     Lebanon                                         75               4

 Cornerbridge Total                                 302              16

     Laconia                                        133               4

     Concord                                        133              12

     Plymouth Outreach                               36              NA

 MAPSA Keene Total                                  166              15

 HEARTS Nashua Total                                423              26

 On the Road to Recovery Total                      377              33

     Manchester                                     234              24

     Derry                                          143               9

 SCA Portsmouth Total                               266              12

 TriCity Coop Rochester Total                       305              14


                                                                          47
         Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 48 of 65




 Total                                                  2,784            175

 Revisions to Prior Period: None

 Data Source: Bureau of Behavioral Health Peer Support Agency Quarterly Statistical Reports

 Notes: Data Compiled 3/1/16; Average Daily Visits NA for Outreach Programs

8. Housing Bridge Subsidy Summary to Date
                                                          October - December 2015

                                                        Total                             Total
                                                  individuals             New       individuals
                                                    served at      individuals           served
                                                      start of   added during     through end
 Subsidy                                              quarter         quarter        of quarter

 Housing Bridge Subsidy                                  466               22              488

 Section 8 Voucher                                         70               0                 70

 Revisions to Prior Period: None

 Data Source: Bureau of Behavioral Health

 Notes: Data Compiled 3/5/16




                                                                                              48
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 49 of 65



9. Housing Bridge Subsidy Current Census Summary
 Measure                                             As of 12/31/2015

 Housing Slots                                                     450

 Rents currently being paid                                        412

 Individuals accepted but waiting to lease                          25

 Waiting list for slots                                              0

 Revisions to Prior Period: None

 Data Source: Bureau of Behavioral Health

 Notes: Data Compiled 3/5/16; All individuals currently on the Bridge Program are actively
 transitioning from the program (waiting for their Section 8 housing voucher).

10. Housing Bridge Subsidy Unit Address Density
                                                       Frequency as of
 Number of Unit(s)* at Same Address                           3/5/16

 1                                                                 314

 2                                                                  17

 3                                                                  14

 4                                                                   1

 5                                                                   2

 6                                                                   1

 *All units are individual units




                                                                                             49
      Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 50 of 65




New Hampshire Community Mental Health Agreement
Quarterly Data Report


                                                        January to March 2016




New Hampshire Department of Health and Human Services

Office of Quality Assurance and Improvement



May 31, 2016




                                                                           50
Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 51 of 65




  The Department of Health and Human Services’ Mission is to join communities and families
         in providing opportunities for citizens to achieve health and independence

                                                                                             51
        Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 52 of 65




Community Mental Health Agreement Quarterly Report
New Hampshire Department of Health and Human Services

Publication Date: 5/31/2016

Reporting Period: 1/1/2016-3/31/2016

Notes
       Additional detail was added to the Glencliff waitlist number to show the number of
        people who are “active” on the list. These are people who have been fully reviewed for
        admission and are awaiting admission pending finalization of paperwork and other steps
        immediate to admission.

       Elliot’s Designated Receiving Facility data is now split by their geriatric and non-
        geriatric units.

       Portsmouth’s Designated Receiving Facility has declined to provide voluntary data as
        timely as the other DRFs. We are working with Portsmouth to provide quarterly data
        with a one quarter lag with the expectation that beginning in next quarter’s report,
        Portsmouth voluntary data will be included. We plan on restating all the DRF data for
        the lagged quarter, including Portsmouth, to provide correct statewide totals and
        averages.




                                                                                                52
         Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 53 of 65




Community Mental Health Agreement Quarterly Report
New Hampshire Department of Health and Human Services

Publication Date: 5/31/2016

Reporting Period: 1/1/2016-3/31/2016

1. Community Mental Health Center Services: Unique Count of Adult Assertive Community
Treatment Consumers
                                                                                 Unique
                                                 January February       March Consumers
 Center Name                                        2016     2016        2016 in Quarter

 01 Northern Human Services                            75        75        78           79

 02 West Central Behavioral Health                     20        23        24           26

 03 Genesis Behavioral Health                          35        33        39           39

 04 Riverbend Community Mental Health Center           61        64        67           70

 05 Monadnock Family Services                          61        65        66           68

 06 Community Council of Nashua                        65        66        65           72

 07 Mental Health Center of Greater Manchester       271        274       267          293

 08 Seacoast Mental Health Center                      68        68        65           72

 09 Community Partners                                 71        69        66           73

 10 Center for Life Management                         45        43        41           49

 Total                                               770        779       778          839

 Revisions to Prior Period: None

 Data Source: NH Phoenix 2

 Notes: Data extracted 5/16/16; consumers are counted only one time regardless of how many
 services they receive.




                                                                                        53
      Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 54 of 65



2a. Community Mental Health Center Services: Assertive Community Treatment Staffing Full
Time Equivalents
                                                           March 2016




                                                                                        rse Practitioner
                                                                                        Psychiatrist/Nu
                                                                      TotalSpecialist
                                     Masters Level
                                     Clinician/or




                                                                      Psychiatry)
                                     Equivalent




                                                                      (Excluding
                                     Functional
                                                     Support
                                                     Worker
                                     Nurse




                                                                      Peer
 Center Name

 01 Northern Human Services          0.53    2.60       7.64      0.38 11.15                   0.80

 02 West Central Behavioral Health   0.40    1.18       2.19      0.60          4.37           0.14

 03 Genesis Behavioral Health        0.60    2.00       4.00      0.80          7.40           0.50

 04 Riverbend Community Mental       0.50    3.00       3.50      0.00          7.00           0.40
 Health Center

 05 Monadnock Family Services        1.00    1.25       5.00      0.50          7.75           0.65

 06 Community Council of Nashua      1.00    3.00       2.50      0.00          6.50           0.25

 07 Mental Health Center of          2.22 19.00         8.79      0.00 30.01                   1.00
 Greater Manchester

 08 Seacoast Mental Health Center    1.43    3.10       6.00      1.00 11.53                   0.60

 09 Community Partners               0.40    2.00       3.00      0.50          5.90           0.40

 10 Center for Life Management       1.00    2.00       4.16      1.00          8.16           0.20

 Total                               9.08 39.13 46.78             4.78 99.77                   4.94

2b. Community Mental Health Center Services: Assertive Community Treatment Staffing
Competencies, Substance Use Disorder Treatment
 Center Name                                     March 2016

 01 Northern Human Services                                    2.55

 02 West Central Behavioral Health                             1.13

 03 Genesis Behavioral Health                                  5.90

                                                               1.40
 04 Riverbend Community Mental Health

                                                                                                           54
         Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 55 of 65




 Center

 05 Monadnock Family Services                        2.40

 06 Community Council of Nashua                      3.00

 07 Mental Health Center of Greater
 Manchester                                          9.00

 08 Seacoast Mental Health Center                    0.00

 09 Community Partners                               1.00

 10 Center for Life Management                       4.00

 Total                                              30.38

2c. Community Mental Health Center Services: Assertive Community Treatment Staffing
Competencies, Housing Assistance
 Center Name                                  March 2016

 01 Northern Human Services                          9.28

 02 West Central Behavioral Health                   5.40

 03 Genesis Behavioral Health                        5.80

 04 Riverbend Community Mental Health
 Center                                              6.00

 05 Monadnock Family Services                        1.00

 06 Community Council of Nashua                      5.00

 07 Mental Health Center of Greater
 Manchester                                         25.09

 08 Seacoast Mental Health Center                    7.00

 09 Community Partners                               3.75

 10 Center for Life Management                       6.86

 Total                                              75.18


                                                                                      55
         Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 56 of 65



2d. Community Mental Health Center Services: Assertive Community Treatment Staffing
Competencies, Supported Employment
 Center Name                                        March 2016

 01 Northern Human Services                                 0.84

 02 West Central Behavioral Health                          0.19

 03 Genesis Behavioral Health                               2.80

 04 Riverbend Community Mental Health
 Center                                                     0.50

 05 Monadnock Family Services                               1.00

 06 Community Council of Nashua                             5.00

 07 Mental Health Center of Greater
 Manchester                                                 1.78

 08 Seacoast Mental Health Center                           1.00

 09 Community Partners                                      1.25

 10 Center for Life Management                              0.30

 Total                                                     14.66

 Revisions to Prior Period: None

 Data Source: Bureau of Behavioral Health CMHC ACT Staffing Census Based on CMHC self-
 report

 Notes for 2b-d: Data extracted 5/16/16; The Staff Competency values reflect the sum of FTE's
 trained to provide each service type. These numbers are not a reflection of the services
 delivered, rather the quantity of staff available to provide each service. If staff is trained to
 provide multiple service types, their entire FTE value will be credited to each service type.




                                                                                                 56
      Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 57 of 65



3. Community Mental Health Center Services: Annual Supportive Employment Penetration
Rates for Prior 12 Month Period
                                                  12 Month Period Ending March 2016

                                                Supported
                                              Employment      Total Eligible   Penetration
 Center Name                                   Consumers       Consumers              Rate

 01 Northern Human Services                            130            1,226         10.6%

 02 West Central Behavioral Health                      97              634         15.3%

 03 Genesis Behavioral Health                          125            1,308           9.6%

 04 Riverbend Community Mental Health
 Center                                                207            1,465         14.1%

 05 Monadnock Family Services                          203              992         20.5%

 06 Community Council of Nashua                        136            1,510           9.0%

 07 Mental Health Center of Greater
 Manchester                                          1,185            3,225         36.7%

 08 Seacoast Mental Health Center                      137            1,248         11.0%

 09 Community Partners                                 102              812         12.6%

 10 Center for Life Management                         192              777         24.7%

 Deduplicated Total                                  2,509           12,975         19.3%

Revisions to Prior Period: None

Data Source: NH Phoenix 2

Notes: Data extracted 5/16/16; consumers are counted only one time regardless of how many
services they receive

4. New Hampshire Hospital: Adult Census Summary
 Measure                                     January - March 2016

 Admissions                                                    309



                                                                                       57
         Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 58 of 65




 Mean Daily Census                                                131

 Discharges                                                       300

 Median Length of Stay in Days for Discharges                      11

 Deaths                                                              0

 Revisions to Prior Period: None

 Data Source: Avatar

 Notes: Data extracted 5/16/16; Average Daily Census includes patients on leave and is
 rounded to nearest whole number

5a. Designated Receiving Facilities: Admissions
                                                        January - March 2016

                                                Involuntary        Voluntary           Total
 DRF                                            Admissions        Admissions      Admissions

 Franklin                                               37                 32              69

 Manchester (Cypress Center)                            48                209             257

 Portsmouth*                                            46                 NA              NA

 Elliot Geriatric Psychiatric Unit                      12                 53              65

 Elliot Pathways                                        37                 84             121

 Total                                                 143                NA*            NA*

 NA = Not available;

 * Total not available due to lack of Portsmouth voluntary admission data. DHHS continues to
 work with Portsmouth to expand their reporting to cover voluntary admissions for future
 releases of data.




                                                                                           58
         Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 59 of 65



5b. Designated Receiving Facilities: Mean Daily Census
 DRF                                              January - March 2016

 Franklin                                                          7.9

 Manchester (Cypress Center)                                      14.7

 Portsmouth                                                        NA

 Elliot Geriatric Psychiatric Unit                                19.7

 Elliot Pathways                                                  18.1

 Total                                                            NA*

 NA = Not available;

 * Total not available due to lack of Portsmouth voluntary admission data. DHHS continues to
 work with Portsmouth to expand their reporting to cover voluntary admissions for future
 releases of data.

5c. Designated Receiving Facilities: Discharges
 DRF                                              January - March 2016

 Franklin                                                          76

 Manchester (Cypress Center)                                      261

 Portsmouth                                                        NA

 Elliot Geriatric Psychiatric Unit                                 57

 Elliot Pathways                                                  122

 Total                                                            NA*

 NA = Not available;

 * Total not available due to lack of Portsmouth voluntary admission data. DHHS continues to
 work with Portsmouth to expand their reporting to cover voluntary admissions for future
 releases of data.




                                                                                           59
         Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 60 of 65



5d. Designated Receiving Facilities: Median Length of Stay in Days for Discharges
 DRF                                            January - March 2016

 Franklin                                                          8.6

 Manchester (Cypress Center)                                       4.2

 Portsmouth                                                        NA

 Elliot Geriatric Psychiatric Unit                               15.0

 Elliot Pathways                                                   7.4

 Total                                                           NA*

 NA = Not available;

 * Total not available due to lack of Portsmouth voluntary admission data. DHHS continues to
 work with Portsmouth to expand their reporting to cover voluntary admissions for future
 releases of data.



 Revisions to Prior Period: None

 Data Source: NH DRF Database

 Notes: Data Compiled 5/16/16




                                                                                           60
     Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 61 of 65



6. Glencliff Home: Census Summary
Measure                                        January - March 2016

Admissions                                                          3

Average Daily Census                                             113

Discharges                                                          1

Individual Lengths of Stay in Days for
Discharges                                                     1,492

Readmissions                                                        0

Mean Overall Admission Waitlist                        15 (6 Active*)

Revisions to Prior Period: None

Data Source: Glencliff Home

Notes: Data Compiled 5/10/16; means rounded to nearest whole number. * Active waitlist
patients have been reviewed for admission and are awaiting admission pending finalization of
paperwork and other steps immediate to admission.




                                                                                          61
      Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 62 of 65



7. NH Mental Health Consumer Peer Support Agencies: Census Summary
                                              January - March 2016

                                                 Total       Average
 Peer Support Agency                          Members      Daily Visits

 Alternative Life Center Total                      453              45

     Conway                                         138              12

     Wolfeboro Outreach                              18               0

     Berlin                                         106              12

     Littleton                                      122              12

     Colebrook                                       69               9

 Stepping Stone Total                               520              18

     Claremont                                      438              13

     Lebanon                                         82               5

 Cornerbridge Total                                 310              12

     Laconia                                        137               4

     Concord                                        137               8

     Plymouth Outreach                               36              NA

 MAPSA Keene Total                                  170              14

 HEARTS Nashua Total                                444              25

 On the Road to Recovery Total                      396              44

     Manchester                                     250              35

     Derry                                          146               9

 SCA Portsmouth Total                               267              12

 TriCity Coop Rochester Total                       319              16


                                                                          62
         Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 63 of 65




 Total                                                      2,879              142

 Revisions to Prior Period: Prior period total of average daily visits was inadvertently listed as
 179, the correct value is 142

 Data Source: Bureau of Behavioral Health Peer Support Agency Quarterly Statistical Reports

 Notes: Data Compiled 5/16/16; Average Daily Visits NA for Outreach Programs

8. Housing Bridge Subsidy Summary to Date
                                                                January – March 2016

                                                            Total                               Total
                                                      individuals             New         individuals
                                                        served at      individuals             served
                                                          start of   added during       through end
 Subsidy                                                  quarter         quarter          of quarter

 Housing Bridge Subsidy                                      488                 30              518

 Section 8 Voucher                                             70                 1                  71

 Revisions to Prior Period: None

 Data Source: Bureau of Behavioral Health

 Notes: Data Compiled 5/9/16




                                                                                                     63
       Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 64 of 65



9. Housing Bridge Subsidy Current Census Summary
 Measure                                              As of 3/31/2016

 Housing Slots                                                     450

 Rents currently being paid                                        415

 Individuals accepted but waiting to lease                          22

 Waiting list for slots                                              0

 Revisions to Prior Period: None

 Data Source: Bureau of Behavioral Health

 Notes: Data Compiled 5/9/16; All individuals currently on the Bridge Program are actively
 transitioning from the program (waiting for their Section 8 housing voucher).

10. Housing Bridge Subsidy Unit Address Density
                                                       Frequency as of
 Number of Unit(s)* at Same Address                          3/31/16

 1
                                                                    317
 2
                                                                     22
 3
                                                                     13
 4
                                                                      1
 5
                                                                      2
 6
                                                                      0
 *All units are individual units




                                                                                             64
Case 1:12-cv-00053-SM Document 116-1 Filed 07/06/16 Page 65 of 65




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